Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                GLASS CAGES.COM, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA GLASSCAGES, TWIN OAKS
     Include any assumed          DBA GLASS CAGES PET SHOP
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1500 EAST PINEY RD
                                  DICKSON, TN 37055
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DICKSON                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       GLASSCAGES@GMAIL.COM


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    GLASS CAGES.COM, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 11, 2018
                                                  MM / DD / YYYY


                             X   /s/ ELIZABETH FIALA                                                      ELIZABETH FIALA
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT




18. Signature of attorney    X   /s/ Steven L. Lefkovitz                                                   Date January 11, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Lefkovitz 5953
                                 Printed name

                                 LEFKOVITZ & LEFKOVITZ
                                 Firm name

                                 618 CHURCH ST., #410
                                 NASHVILLE, TN 37219
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-256-8300                  Email address      slefkovitz@lefkovitz.com

                                 5953
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 11, 2018                        X /s/ ELIZABETH FIALA
                                                                       Signature of individual signing on behalf of debtor

                                                                       ELIZABETH FIALA
                                                                       Printed name

                                                                       PRESIDENT
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name GLASS CAGES.COM, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF TENNESSEE                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AADVANTAGE                                                                                                                                                               $30,875.00
 AVIATOR RED MC
 PO BOX 13337
 PHILADELPHIAPA
 19101
 AMERICAN                                                        UCC FILING ON                                       $76,802.84                        $0.00              $76,802.84
 EXPRESS                                                         INVENTORY,
 ATTN: SE LEGAL                                                  EQUIPMENT, ETC.
 HOLDS
 PO BOX 53825
 PHOENIX, AZ 85072
 ASSN COMPANY                                                    UCC FILING ON                                         Unknown                         $0.00               Unknown
 C/O CORP SVC CO                                                 INVENTORY,
 AS RPSNTVE                                                      EQUIPMENT, ETC.
 PO BOX 2576
 SPRINGFIELD, IL
 62708
 BANKAMERICARD                                                                                                                                                            $15,500.00
 AOPA
 BANK OF AMERICA
 PO BOX 92234
 EL PASO, TX 79998
 BMO HARRIS                                                      2016 PRO STAR                                      $114,346.14                 $30,000.00                $84,346.14
 141 W JACKSON                                                   INTERNATIONAL
 BLVD #1000                                                      TRUCK
 CHICAGO IL 60604
 CHASE                                                                                                                                                                    $15,961.00
 PO BOX 15298
 WILMINGTON DE
 19886
 CHASE SLATE                                                                                                                                                                $7,497.00
 PO BOX 15298
 WILMINGTON DE
 19886
 CHASE SLATE                                                                                                                                                              $19,085.00
 PO BOX 15298
 WILMINGTON DE
 19886

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CITI                                                                                                                                                                     $16,848.95
 PO BOX 6241
 SIOUX FALLS SD
 57117
 DEX.YP                                                                                                                                                                         $84.06
 PO BOX 6010
 CAROL STREAM IL
 60197
 DISCOVER                                                                                                                                                                 $16,802.00
 ATTN:
 BANKRUPTCY
 DEPT
 PO BOX 3025
 NEW ALBANY, OH
 43054
 EVEREST BUS                                                                                                                                                              $50,000.00
 FUNDING
 ATTN: ALEXANDRA
 REYES
 8200 NW 52
 TERRACE 2ND
 FLOOR
 MIAMI, FL 33166
 LENDFI CORP                                                                                                                                                            $150,000.00
 724 WALT
 WHITMAN RD
 MELVILLE NY 11747
 LENDINI                                                                                                                                                                  $53,000.00
 884 TOWN CENTER
 DR
 LANGHORNE PA
 19047
 LOWES                                                                                                                                                                      $3,115.98
 BANKRUPTCY
 DEPT
 PO BOX 965060
 ORLANDO, FL
 32896
 ON DECK                                                                                                                                                                  $92,698.32
 1400 BROADWAY
 NEW YORK NY
 10018
 SOUTHEAST                                                                                                                                                                $64,500.00
 CMNTY CAPITAL
 DBA PATHWAY
 LENDING
 201 VENTURE CR
 NASHVILLE, TN
 37228




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           126,852.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           126,852.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           198,647.53


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           535,967.31


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             734,614.84




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of
                                                                                                                                           debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                                 Last 4 digits of account
                                                                                                                number
                    TRISTAR BANK- CHECKING-
                    (OPERATING ACCT) $3,814
           3.1.     TRISTAR BANK- CHECKING- $3,906                                                                                                       $7,720.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $7,720.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 7,232.00   -                           3,616.00 = ....                              $3,616.00
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                   page 1
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                Name


 12.       Total of Part 3.                                                                                                             $3,616.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           GLASS-12,000
           ACRYLIC-6,700
           PACKAGING
           MATERIALS-2,000
           SHOP SUPPLIES-1,500                                                           $22,200.00                                       $22,200.00



 20.       Work in progress
           JOBS IN PROGRESS
           NOTE: (Approximately
           $114,745.00 pre-paid for
           jobs in progress also)                                                          $3,616.00                                        $3,616.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $25,816.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                Name



 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           2 COMPUTERS, 2 PRINTERS, TELEPHONE
           SYSTEM, MISC. OOFICE SUPPLIES                                                $2,000.00                                        $2,000.00


           CHAIRS & CARTS                                                                 $200.00                                          $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $2,200.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2016 PRO STAR INTERNATIONAL
                     TRUCK                                                                  $0.00                                      $30,000.00


           47.2.     2014 FORD E250 VAN                                                     $0.00                                      $13,400.00


           47.3.     2015 DURASTAR MEDIUM DUTY TRUCK                                        $0.00                                      $19,000.00


           47.4.     KUBOTA RTV CART                                                    $2,000.00                                        $2,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         GLASS CAGES.COM, LLC                                                         Case number (If known)
                Name



            47.5.    3 SEMI-TRAILERS
                     (1980's/1990's MODELS)                                             $1,500.00                               $1,500.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            20 YR OLD GLASS WASHER-1,000 3 YR OLD
            GLASS POLISHER-8,000 SANDER-500
            SANDING TOOLS-500 5 YR OLD HOLE
            DRILLER-5,200 ACRYLIC BENDER-1,200
            PACKING TOOLS-200 MISC. SAWS, TOOLS,
            ETC.-1,000 1990 FORKLIFT-2,000 OUTDOOR
            CEILING CRANE-500 INDOOR CELING
            CRAIN-1,000 GLASS CARTS-500                                               $21,600.00                              $21,600.00




 51.        Total of Part 8.                                                                                              $87,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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 Debtor          GLASS CAGES.COM, LLC                                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $7,720.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $3,616.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $25,816.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,200.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $87,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $126,852.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $126,852.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   AMERICAN EXPRESS                               Describe debtor's property that is subject to a lien                   $76,802.84                      $0.00
       Creditor's Name                                UCC FILING ON INVENTORY, EQUIPMENT,
       ATTN: SE LEGAL HOLDS                           ETC.
       PO BOX 53825
       PHOENIX, AZ 85072
       Creditor's mailing address                     Describe the lien
                                                      UCC FILING
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       CL-GNAYU
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   ASSN COMPANY                                   Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Creditor's Name                                UCC FILING ON INVENTORY, EQUIPMENT,
       C/O CORP SVC CO AS                             ETC.
       RPSNTVE
       PO BOX 2576
       SPRINGFIELD, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      UCC FILING
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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 Debtor       GLASS CAGES.COM, LLC                                                                     Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   BMO HARRIS                                     Describe debtor's property that is subject to a lien                     $114,346.14       $30,000.00
       Creditor's Name                                2016 PRO STAR INTERNATIONAL TRUCK
       141 W JACKSON BLVD
       #1000
       CHICAGO IL 60604
       Creditor's mailing address                     Describe the lien
                                                      PMSI LIEN ON VEHICLE
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   BMO HARRIS                                     Describe debtor's property that is subject to a lien                           $0.00       $19,000.00
       Creditor's Name                                2015 DURASTAR MEDIUM DUTY TRUCK
       141 W JACKSON BLVD
       #1000
       CHICAGO IL 60604
       Creditor's mailing address                     Describe the lien
                                                      PMSI LIEN ON VEHICLE
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   FORD MOTOR CREDIT                              Describe debtor's property that is subject to a lien                       $7,498.55       $13,400.00
       Creditor's Name                                2014 FORD E250 VAN
       C/O NATL BANKRUPTCY
       SVC
       PO BOX 62180
       COLORADO SPRINGS, CO
       80962
       Creditor's mailing address                     Describe the lien
                                                      PMSI LIEN ON VEHICLE


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
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 Debtor       GLASS CAGES.COM, LLC                                                                     Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.6    KUBOTA CREDIT COP                             Describe debtor's property that is subject to a lien                           $0.00            $2,000.00
        Creditor's Name                               KUBOTA RTV CART
        4400 AMON CARTER BLVD
        #100
        FT WORTH TX 76155
        Creditor's mailing address                    Describe the lien
                                                      PMSI LIEN ON EQUIPMENT
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $198,647.53

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         FUNDING METRICS LLC
         C/O CMRCL ASSET RECOVERY                                                                               Line   2.1
         1330 AVE OF THE AMERICAS #23-A
         NEW YORK, NY 10019

         FUNDING METRICS LLC/LENDINI
         884 TOWN CENTER DR                                                                                     Line   2.1
         LANGHORNE PA 19047




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $30,875.00
           AADVANTAGE AVIATOR RED MC                                            Contingent
           PO BOX 13337                                                         Unliquidated
           PHILADELPHIAPA 19101                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      0902
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $15,500.00
           BANKAMERICARD AOPA                                                   Contingent
           BANK OF AMERICA                                                      Unliquidated
           PO BOX 92234                                                         Disputed
           EL PASO, TX 79998
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      6605                         Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $15,961.00
           CHASE                                                                Contingent
           PO BOX 15298                                                         Unliquidated
           WILMINGTON DE 19886                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      9891
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $19,085.00
           CHASE SLATE                                                          Contingent
           PO BOX 15298                                                         Unliquidated
           WILMINGTON DE 19886                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      5079
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 3
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 Debtor       GLASS CAGES.COM, LLC                                                                    Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,497.00
          CHASE SLATE                                                           Contingent
          PO BOX 15298                                                          Unliquidated
          WILMINGTON DE 19886                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8349
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,848.95
          CITI                                                                  Contingent
          PO BOX 6241                                                           Unliquidated
          SIOUX FALLS SD 57117                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7488
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $84.06
          DEX.YP                                                                Contingent
          PO BOX 6010                                                           Unliquidated
          CAROL STREAM IL 60197                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       SHOP
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,802.00
          DISCOVER                                                              Contingent
          ATTN: BANKRUPTCY DEPT                                                 Unliquidated
          PO BOX 3025                                                           Disputed
          NEW ALBANY, OH 43054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0456                         Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,000.00
          EVEREST BUS FUNDING                                                   Contingent
          ATTN: ALEXANDRA REYES                                                 Unliquidated
          8200 NW 52 TERRACE 2ND FLOOR                                          Disputed
          MIAMI, FL 33166
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $150,000.00
          LENDFI CORP                                                           Contingent
          724 WALT WHITMAN RD                                                   Unliquidated
          MELVILLE NY 11747                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $53,000.00
          LENDINI                                                               Contingent
          884 TOWN CENTER DR                                                    Unliquidated
          LANGHORNE PA 19047                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 3
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 Debtor       GLASS CAGES.COM, LLC                                                                    Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,115.98
           LOWES                                                                Contingent
           BANKRUPTCY DEPT                                                      Unliquidated
           PO BOX 965060                                                        Disputed
           ORLANDO, FL 32896
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number      OAKS                         Is the claim subject to offset?       No     Yes


 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $92,698.32
           ON DECK                                                              Contingent
           1400 BROADWAY                                                        Unliquidated
           NEW YORK NY 10018                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $64,500.00
           SOUTHEAST CMNTY CAPITAL                                              Contingent
           DBA PATHWAY LENDING                                                  Unliquidated
           201 VENTURE CR                                                       Disputed
           NASHVILLE, TN 37228
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       535,967.31

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          535,967.31




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      FIALA,                            1500 EAST PINEY RD                                 AADVANTAGE                        D
             ELIZABETH A                       DICKSON TN 37055                                   AVIATOR RED MC                    E/F       3.1
                                                                                                                                    G




    2.2      FIALA,                            1500 EAST PINEY RD                                 CHASE                             D
             ELIZABETH A                       DICKSON TN 37055                                                                     E/F       3.3
                                                                                                                                    G




    2.3      FIALA,                            1500 EAST PINEY RD                                 DISCOVER                          D
             ELIZABETH A                       DICKSON TN 37055                                                                     E/F       3.8
                                                                                                                                    G




    2.4      FIALA,                            1500 EAST PINEY RD                                 LOWES                             D
             ELIZABETH A                       DICKSON TN 37055                                                                     E/F       3.12
                                                                                                                                    G




    2.5      FIALA,                            1500 EAST PINEY RD                                 BANKAMERICARD                     D
             ELIZABETH A                       DICKSON TN 37055                                   AOPA                              E/F       3.2
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       GLASS CAGES.COM, LLC                                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      FIALA,                            1500 EAST PINEY RD                                 KUBOTA CREDIT             D   2.6
             ELIZABETH A                       DICKSON TN 37055                                   COP                       E/F
                                                                                                                            G




    2.7      FIALA, THOMAS                     1500 EAST PINEY RD                                 CHASE SLATE               D
             A                                 DICKSON TN 37055                                                             E/F       3.4
                                                                                                                            G




    2.8      FIALA, THOMAS                     1500 EAST PINEY RD                                 CHASE SLATE               D
             A                                 DICKSON TN 37055                                                             E/F       3.5
                                                                                                                            G




    2.9      FIALA, THOMAS                     1500 EAST PINEY RD                                 CITI                      D
             A                                 DICKSON TN 37055                                                             E/F       3.6
                                                                                                                            G




    2.10     FIALA, THOMAS                     1500 EAST PINEY RD                                 SOUTHEAST CMNTY           D
             A                                 DICKSON TN 37055                                   CAPITAL                   E/F       3.14
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         GLASS CAGES.COM, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $19,606.00
       From 1/01/2018 to Filing Date                                                                        GROSS BUSINESS
                                                                                                   Other    REVENUE


       For prior year:                                                                             Operating a business                             $1,264,076.00
       From 1/01/2017 to 12/31/2017                                                                         GROSS BUSINESS
                                                                                                   Other    REVENUE


       For year before that:                                                                       Operating a business                             $1,352,512.00
       From 1/01/2016 to 12/31/2016                                                                         GROSS BUSINESS
                                                                                                   Other    REVENUE

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               FLEET ONE                                                   SEE                                $5,540.68          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               VITRO                                                       SEE                              $36,918.76           Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               EFTPS                                                       SEE                              $11,586.12           Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other QUARTERLY TAX
                                                                                                                               PAYMENTS

       3.4.
               CHUBB INSURANCE                                             SEE                                $1,310.76          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other INSURANCE


       3.5.
               CNA INSURANCE                                               SEE                                $1,027.12          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other WORKERS COMP
                                                                                                                               INSURANCE

       3.6.
               KUBOTA                                                      SEE                                $2,166.45          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               NORMAN WELL CO                                              SEE                                $1,311.50          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               AMERICAN SEALANTS                                           SEE                                $3,674.80          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               LOWES                                                       SEE                                $4,920.18          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.10
       .
            MTL MIDDLE TN                                                  SEE                                $8,054.03          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.11
       .
            NATIONWIDE INSURANCE                                           SEE                                $9,155.34          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other INSURANCE


       3.12
       .
            WASTE MANAGEMENT                                               SEE                                $1,049.94          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.13
       .
            WESSEL INSURANCE                                               SEE                                $1,904.42          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.14
       .
            NASHVILLE TEMPERED GLASS                                       SEE                                  $704.56          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.15
       .
            SOUTHWEST AIR CARGO                                            SEE                                $2,029.63          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.16
       .
            RIVER CITY REEF                                                SEE                                $2,349.50          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .
            HARBOR TECH PLASTICS                                           SEE                                $1,528.04          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.18
       .
            SOUTHEAST CAPITAL                                              SEE                              $10,674.00           Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other SOLAR SYSTEM


       3.19
       .
            AT&T                                                           SEE                                $2,689.44          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.20
       .
            FORD MOTOR CREDIT                                              SEE                                $1,935.00          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.21
       .
            VERIZON WIRELESS                                               SEE                                  $661.64          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.22
       .
            BMO HARRIS                                                     SEE                                $7,531.01          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.23
       .
            AMERICAN PAPER & TWINE                                         SEE                                $2,856.60          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.24
       .
            OVER THE EDGE PLASTICS                                         SEE                                $2,454.80          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.25
       .
            REGAL PLASTICS                                                 SEE                                  $961.63            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"                                             Suppliers or vendors
                                                                                                                                   Services
                                                                                                                                   Other


       3.26
       .
            UNIVERSAL ROCKS                                                SEE                                $2,528.41            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                   Suppliers or vendors
                                                                                                                                   Services
                                                                                                                                   Other


       3.27
       .
            PHILLIPS PET SUPPLY                                            SEE                                $1,071.70            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                   Suppliers or vendors
                                                                                                                                   Services
                                                                                                                                   Other


       3.28
       .
            SURPLUS CITY LIQUIDATORS                                       SEE                                $1,452.00            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                   Suppliers or vendors
                                                                                                                                   Services
                                                                                                                                   Other


       3.29
       .
            BARLIES BUILDING SUPPLY                                        SEE                                $4,755.11            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                   Suppliers or vendors
                                                                                                                                   Services
                                                                                                                                   Other


       3.30
       .
            LOGICAL POSTIONS                                               SEE                                $1,197.00            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"                                             Suppliers or vendors
                                                                                                                                   Services


                                                                                                                               Other MARKETING/ADVERTISIN
                                                                                                                               G

       3.31
       .
            GOOGLE AD WORDS                                                SEE                                $5,000.00            Secured debt
                                                                           ATTACHED                                                Unsecured loan repayments
                                                                           EXHIBIT "A"                                             Suppliers or vendors
                                                                                                                                   Services


                                                                                                                               Other MARKETING/ADVERTISIN
                                                                                                                               G




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.32
       .
            AMAZON                                                         SEE                                $1,225.14          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.33
       .
            UNISHIPPERS                                                    SEE                                $4,196.89          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.34
       .
            ECHO LOGISTICS                                                 SEE                              $16,022.64           Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.35
       .
            ON DECK CAPITAL                                                SEE                              $14,190.00           Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.36
       .
            CHASE PAYMENT TECH                                             SEE                                $4,384.00          Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other CREDIT CARD


       3.37
       .
            AM EX                                                          SEE                                $1,065.00          Secured debt
               CREDIT CARD PROCESSING FEES                                 ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.38
       .
            LENDINI                                                        SEE                              $20,900.00           Secured debt
                                                                           ATTACHED                                              Unsecured loan repayments
                                                                           EXHIBIT "A"
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.39
       .
            LENDFI                                                         S:/ECF/ELDE                      $29,480.00           Secured debt
                                                                           R, JOSEPH S                                           Unsecured loan repayments
                                                                           & LORI
                                                                                                                                 Suppliers or vendors
                                                                           G/CCC2.PDF
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.40
       .
            AM EX MERCHANT FINANCING                                       S:/ECF/ELDE                      $35,606.16                Secured debt
                                                                           R, JOSEPH S                                                Unsecured loan repayments
                                                                           & LORI                                                     Suppliers or vendors
                                                                           G/CCC2.PDF                                                 Services
                                                                                                                                      Other UCC FILING



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken
       AMERICAN EXPRESS/FUNDING                                 ENFORCED UCC FILING- THEY ARE                                  DECEMBER                      $1,440.00
       METRICS                                                  HOLDING THE DEBTOR'S MERCHANT                                  21, 2017 TO
       ATTN: SE LEGAL HOLDS                                     PAYMENTS                                                       PRESENT
       PO BOX 53825                                             Last 4 digits of account number: 9585
       PHOENIX, AZ 85072


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    LEFKOVITZ & LEFKOVITZ
                618 CHURCH ST., #410                                 Attorney Fees- $7,500 Retainer                            DECEMBER
                NASHVILLE, TN 37219                                  Court Costs- $1,717                                       2017                  $9,217.00

                Email or website address
                slefkovitz@lefkovitz.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer       Total amount or
               Address                                          payments received or debts paid in exchange                was made                     value

 Part 7:       Previous Locations

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14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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          None

       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       FIALA, ELIZABETH                               1500 EAST PINEY RD                                  SOLE MEMBER                           100%
                                                      DICKSON TN 37055                                                                          SHAREHOLD
                                                                                                                                                ER


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


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            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 11, 2018

 /s/ ELIZABETH FIALA                                                    ELIZABETH FIALA
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  7,500.00
             Prior to the filing of this statement I have received                                        $                  7,500.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 11, 2018                                                             /s/ Steven L. Lefkovitz
     Date                                                                         Steven L. Lefkovitz 5953
                                                                                  Signature of Attorney
                                                                                  LEFKOVITZ & LEFKOVITZ
                                                                                  618 CHURCH ST., #410
                                                                                  NASHVILLE, TN 37219
                                                                                  615-256-8300 Fax: 615-255-4516
                                                                                  slefkovitz@lefkovitz.com
                                                                                  Name of law firm




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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 FIALA, ELIZABETH                                                                                                                100%
 1500 EAST PINEY RD
 DICKSON TN 37055


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the PRESIDENT of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 11, 2018                                                       Signature /s/ ELIZABETH FIALA
                                                                                            ELIZABETH FIALA

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       January 11, 2018                                           /s/ ELIZABETH FIALA
                                                                        ELIZABETH FIALA/PRESIDENT
                                                                        Signer/Title




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GLASS CAGES.COM, LLC                 DEX.YP                            LENDINI
1500 EAST PINEY RD                   PO BOX 6010                       884 TOWN CENTER DR
DICKSON TN 37055                     CAROL STREAM IL 60197             LANGHORNE PA 19047

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STEVEN L. LEFKOVITZ                  DISCOVER                          LOWES
LEFKOVITZ & LEFKOVITZ                ATTN: BANKRUPTCY DEPT             BANKRUPTCY DEPT
618 CHURCH ST., #410                 PO BOX 3025                       PO BOX 965060
NASHVILLE, TN 37219                  NEW ALBANY OH 43054               ORLANDO FL 32896


AADVANTAGE AVIATOR RED MC            EVEREST BUS FUNDING               ON DECK
PO BOX 13337                         ATTN: ALEXANDRA REYES             1400 BROADWAY
PHILADELPHIAPA 19101                 8200 NW 52 TERRACE 2ND FLOOR      NEW YORK NY 10018
                                     MIAMI FL 33166


AMERICAN EXPRESS                     FIALA, ELIZABETH A                SOUTHEAST CMNTY CAPITAL
ATTN: SE LEGAL HOLDS                 1500 EAST PINEY RD                DBA PATHWAY LENDING
PO BOX 53825                         DICKSON TN 37055                  201 VENTURE CR
PHOENIX AZ 85072                                                       NASHVILLE TN 37228


ASSN COMPANY                         FIALA, THOMAS A
C/O CORP SVC CO AS RPSNTVE           1500 EAST PINEY RD
PO BOX 2576                          DICKSON TN 37055
SPRINGFIELD IL 62708


BANKAMERICARD AOPA                   FORD MOTOR CREDIT
BANK OF AMERICA                      C/O NATL BANKRUPTCY SVC
PO BOX 92234                         PO BOX 62180
EL PASO TX 79998                     COLORADO SPRINGS CO 80962


BMO HARRIS                           FUNDING METRICS LLC
141 W JACKSON BLVD #1000             C/O CMRCL ASSET RECOVERY
CHICAGO IL 60604                     1330 AVE OF THE AMERICAS #23-A
                                     NEW YORK NY 10019


CHASE                                FUNDING METRICS LLC/LENDINI
PO BOX 15298                         884 TOWN CENTER DR
WILMINGTON DE 19886                  LANGHORNE PA 19047




CHASE SLATE                          KUBOTA CREDIT COP
PO BOX 15298                         4400 AMON CARTER BLVD #100
WILMINGTON DE 19886                  FT WORTH TX 76155




CITI                                 LENDFI CORP
PO BOX 6241                          724 WALT WHITMAN RD
SIOUX FALLS SD 57117                 MELVILLE NY 11747



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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for GLASS CAGES.COM, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 FIALA, ELIZABETH
 1500 EAST PINEY RD
 DICKSON TN 37055




    None [Check if applicable]




 January 11, 2018                                                      /s/ Steven L. Lefkovitz
 Date                                                                  Steven L. Lefkovitz 5953
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for GLASS CAGES.COM, LLC
                                                                       LEFKOVITZ & LEFKOVITZ
                                                                       618 CHURCH ST., #410
                                                                       NASHVILLE, TN 37219
                                                                       615-256-8300 Fax:615-255-4516
                                                                       slefkovitz@lefkovitz.com




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